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                        UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

KRAFT FOODS GLOBAL, INC., THE          )
KELLOGG COMPANY, GENERAL               )
MILLS, INC., and NESTLÉ USA, INC.,     )
                                       )
      Plaintiffs,                      )     No. 1:11-cv-08808
                                       )
              v.                       )     Judge Steven C. Seeger
                                       )
UNITED EGG PRODUCERS, INC.,            )
UNITED STATES EGG MARKETERS,           )
INC., CAL-MAINE FOODS, INC., and       )
ROSE ACRE FARMS, INC.                  )
                                       )
      Defendants.                      )



                     PARTIES’ PHASE 2 JURY INSTRUCTIONS




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                 PLAINTIFFS’ PROPOSED PRELIMINARY INSTRUCTION


You have already found that Defendants Cal-Maine, Rose Acre, United Egg Producers, or
“UEP,” and United States Egg Marketer, or “USEM,” and co-conspirators Moark and Wabash
Valley, engaged in a conspiracy to reduce the supply of eggs in order to increase their price.

You found that Michael Foods did not participate in the conspiracy.

You found the conspiracy involved the four practices Plaintiffs have challenged: (1) early
slaughter, forced molting, and flock reduction, referred to as the short-term measures, (2)
exports; (3) the ban on backfilling; and (4) the cage density restrictions. These last two practices
were implemented through the UEP Certified Program, which included the 100% rule.

You also found that the conspiracy injured plaintiffs Kraft, Kellogg, General Mills and Nestle in
the period October 2004 through December 2008.

Your findings may not be reconsidered.




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Defendants’ Response: Defendants object to Plaintiffs’ characterization of what the jury found
and this proposed preliminary instruction. This “instruction” is argumentative and at best,
incomplete.




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                            PLAINTIFFS’ DAMAGE INSTRUCTION



               1. ANTITRUST DAMAGES--INTRODUCTION AND PURPOSE


You have found Defendants violated the antitrust laws and that this violation caused injury to
Plaintiffs. You must now determine the amount of damages, if any, Plaintiffs are entitled to
recover.

The law provides that Plaintiffs should be fairly compensated for all damages to their business or
property that were a direct result or likely consequence of the conduct that you have found to be
unlawful.

Antitrust damages are only compensatory, meaning their purpose is to put an injured plaintiff as
near as possible in the position in which it would have been had the antitrust violation not occurred.
The law does not permit you to award damages to punish a wrongdoer--what we sometimes refer
to as punitive damages--or to deter particular conduct in the future. Furthermore, you are not
permitted to award to plaintiff an amount for attorneys’ fees or the costs of maintaining this
lawsuit.

Source: ABA Model Instructions in Civil Antitrust Cases (2016 ed.), Ch. 6, Instruction B-1, p.
304 (modified).




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Defendants’ Response: this instruction is not appropriate for a bifurcated trial per the manual. The
correct instruction is Instruction B-2, which Defendants submitted, and which is appropriate here.

Plaintiffs’ Reply: this introductory instruction is appropriate in this case. The bifurcated trial
instruction (B-2) addresses instructing a jury that did not hear the liability phase of the case. This
introductory instruction better explains the general concepts applicable to all damage
determinations and should be used.




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                         2. BASIS FOR CALCULATING DAMAGES


You are permitted to make just and reasonable estimates in calculating Plaintiff’s damages. You
are not required to calculate damages with mathematical certainty or precision. However, the
amount of damages must have a reasonable basis in the evidence and must be based on reasonable,
non-speculative assumptions and estimates. Damages may not be based on guesswork or
speculation. Plaintiff must prove the reasonableness of each of the assumptions upon which the
damages calculation is based.

If you find that a Plaintiff has provided a reasonable basis for determining damages, then you may
award damages based on a just and reasonable estimate supported by the evidence.

If you find that a Plaintiff has failed to carry its burden of providing a reasonable basis for
determining damages, then you may not award damages or you may award nominal damages, not
to exceed one dollar.



Source: ABA Model Instructions in Civil Antitrust Cases (2016 ed.), Ch. 6, Instruction B-3, p.
307 (modified).




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         3. DAMAGES FOR OVERCHARGES BASED ON OUTPUT RESTRICTION

The proper way to calculate the amount of damages to award Plaintiff is to determine the difference
between the prices Plaintiff actually paid for egg products and the prices Plaintiff would have paid
had there been no agreement to restrict output. This is referred to as the overcharge.

Overcharge damages may be calculated in a variety of ways, including multiple regression or
before-and-after analyses.


Source: ABA Model Instructions in Civil Antitrust Cases (2016 ed.), Ch. 6, Instruction B-5, p.
312 (modified).




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Defendants’ Response: Defendants object to the inclusion of “or before-and-after analyses”
because no such model is presented by Plaintiffs’ expert, Dr. Baye, and it would be confusing to
the jury to be given an instruction on a non-existent theory.




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                     4. POSSIBLE PASS THROUGH OF NO CONCERN

You have not heard any evidence in this case about whether Plaintiffs passed along higher prices
to their customers. When determining the amount of damages that will compensate Plaintiffs, you
should not consider whether any Plaintiff passed along higher prices to their customers.

Source: Tr. of Proc., Nov 7, 2023, 4012-13. The need for this instruction is addressed in ABA
Model Jury Instructions in Civil Antitrust Cases (2016 ed.), Ch. 6, Instruction No. B-1
(explanatory note). See also Paper Systems v. Nippon Paper Indus. Co., 281 F.3d 629, 632-34
(7th Cir. 2002) (citing Illinois Brick Co. v. Illinois, 431 U.S. 720 (1977)).




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Defendants’ Response: a limiting instruction has already been provided to the jury (at Tr. of
Proc., Nov 7, 2023, 4012-13) and there is no basis to give such an instruction again.




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                                 5. MULTIPLE PLAINTIFFS


You are to decide what sum of money would fairly and reasonably compensate each Plaintiff. If
you find that more than one Plaintiff is entitled to recover damages, exercise caution to be sure
that each Plaintiff is awarded damages only for its own injuries.

Source: ABA Model Instructions in Civil Antitrust Cases (2016 ed.), Ch. 6, Instruction B-15, p.
326




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Defendants’ Response: the removed language is important and part of the pattern instruction.
We object to its removal. Defendants proposed the pattern instruction verbatim and submit that
is the instruction that should be given.




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                             6. JOINT AND SEVERAL LIABILITY

Each participant in a conspiracy that violates the antitrust laws is jointly and severally liable for
all of the damages resulting from the conspiracy. This means that each conspirator is fully liable
for all of the damages caused by the conspiracy and not solely for damages caused by an individual
conspirator. One who knowingly joins an ongoing conspiracy is liable for the previous acts of the
other conspirators in furtherance of the conspiracy.2

Defendants are liable for all damages caused by the conspiracy including any overcharges on
purchases of the product.

Thus, a Defendant is liable for overcharges on all purchases of egg products by Plaintiffs from all
members of the conspiracy, and not merely on purchases from that Defendant.

Source: ABA Model Instructions in Civil Antitrust Cases (2016 ed.), Ch. 6, Instruction B-17, p.
329.




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Defendants’ Response: Defendants object to the removal of some of the pattern language. In
particular, the pattern’s qualifier that if the jury finds any “plaintiff is entitled to recover damages
based on the other instructions” is important because it is possible that one or more of these
plaintiffs will not meet its burden of proof.




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       DEFENDANTS’ PROPOSED JURY INSTRUCTIONS—DAMAGES PHASE

                                     BIFURCATED TRIAL

       [The first jury found] In the liability phase of this proceeding, you found that the
following entities violated the antitrust laws by conspiring to reduce the supply of eggs: (1)
United Egg Producers (UEP); (2) United States Egg Marketers (USEM); (3) Cal-Maine Foods;
(4) Rose Acre Farms, (5) Wabash Valley Farms and (6) Moark.

        Each injured Plaintiff is entitled to recover for all damages to its business or property that
were a direct result or likely consequence of the conduct that [the first jury] you previously found
to be unlawful. You may not, however, award damages for injuries or losses caused by conduct
not submitted to [the first jury] you in the liability phase of the trial, or caused by factors other
than the conduct that [the first jury] you previously found to unlawful.

        The law does not permit you to award damages to punish a wrongdoer—what we
sometimes refer to as punitive damages—or to deter particular conduct in the future.
Furthermore, you are not permitted to award to Plaintiffs an amount for attorneys’ fees or the
costs of maintaining this lawsuit.



Source: ABA Model Jury Instructions in Civil Antitrust Cases (2016 ed.) at 306. (Ch. 6, Section
B, Instruction 2).




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                                       Plaintiffs’ Position

Plaintiffs request the Court to use Plaintiffs’ Instruction 1 instead of this instruction.
Defendant’s proposal does not contain all of the information found in the Plaintiffs’ proposed
instruction.

Defendants’ response: this is the pattern instruction for a bifurcated trial and appropriate here
given the trial was in fact bifurcated.




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                           BASIS FOR CALCULATING DAMAGES

       You are permitted to make just and reasonable estimates in calculating each Plaintiff’s
damages. You are not required to calculate damages with mathematical certainty or precision.
However, the amount of damages must have a reasonable basis in the evidence and must be
based on reasonable, non-speculative assumptions and estimates. Damages may not be based on
guesswork or speculation. Each Plaintiff must prove the reasonableness of each of the
assumptions upon which the damages calculation is based.
      If you find that a Plaintiff has provided a reasonable basis for determining damages, then
you may award damages based on a just and reasonable estimate supported by the evidence.
        If you find that a Plaintiff has failed to carry its burden of providing a reasonable basis
for determining damages, then you may not award damages.


Source: ABA Model Jury Instructions in Civil Antitrust Cases (2016 ed.) at 307 (Ch. 6, Section
B, Instruction 3), citing J. Truett Payne Co. v. Chrysler Motors Corp., 451 U.S. 557, 566 (1981)
and Bigelow v. RKO Radio Pictures, 327 U.S. 251, 264 (1946) (other internal citations omitted);
Broiler Chicken Inst. 38.




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                                        Plaintiffs’ Position

This instruction is identical to Plaintiffs’ instruction 2, with the exception of the nominal
damages instruction, which Plaintiffs believe is appropriate.




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                           CAUSATION AND DISAGGREGATION

        If you find that defendant violated the antitrust laws and that plaintiff was injured by that
violation,

       Each Plaintiff is entitled to recover for such injury that was the direct result or likely
consequence of the unlawful acts of the entities you found violated the antitrust laws by
conspiring to reduce the supply of eggs during the time period of the conspiracy (i.e., October
2004-December 2008): (1) United Egg Producers (UEP); (2) United States Egg Marketers
(USEM); (3) Cal-Maine Foods; (4) Rose Acre Farms, (5) Wabash Valley Farms and (6) Moark.

        Plaintiffs bear the burden of showing that their injuries were caused by the antitrust
violation you found, as opposed to any other factors. If you find that Plaintiffs’ claimed injuries
were caused in part by Defendants’, Moark’s and Wabash Valley’s antitrust violation you found
and in part by other factors, then you may award damages only for that portion of Plaintiffs’
alleged injuries that were caused by the alleged antitrust violation.

        Plaintiffs claim that they suffered injury because they paid higher prices for egg products
than they would have paid if the antitrust violation you found had not occurred.

        Plaintiffs are not entitled to recover for changes in price that resulted solely from other
causes arising from the normal course of lawful business activity. The presence of such factors
does not mean Plaintiffs did not suffer antitrust injury, but Plaintiffs are not entitled to recover
for damages caused by them. Plaintiffs only may recover for damages caused by the antitrust
violation you found.

       Similarly, Plaintiffs are not entitled to recover damages for injuries caused by the conduct
of egg producers who were not found to be a part of the conspiracy. For example, even though
you determined that Plaintiffs’ injuries were caused by Moark, Cal-Maine, Rose Acre and
Wabash Valley joining and adhering to the Certified Program, you may only consider the effect
caused by these individual producers you found to be a part of the conspiracy. You may not
consider the effect on the market and on Plaintiffs caused by the conduct of the other,
approximately 200, non-conspirator egg producers that participated in the UEP Certified
Program. The same holds true for the Short-Term Measures and the Exports as part of the
USEM Export Program.

       Plaintiffs bear the burden of proving damages by a preponderance of the evidence,
including apportioning damages between lawful and unlawful causes. If you find that Plaintiffs
were injured by Defendants’, Moark’s and Wabash Valley’s antitrust violation, and there is a
reasonable basis to apportion Plaintiffs’ claimed injury between lawful and unlawful causes, then
you may award damages.

       If you find that Plaintiffs’ claimed injuries were caused by factors other than Defendants’,
Moark’s and Wabash Valley’s antitrust violation, then you must not award any Plaintiff any
damages. In addition, if you find that there is no reasonable basis to apportion Plaintiffs’
claimed injury injuries between lawful and unlawful causes, or that apportionment can only be



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accomplished through speculation or guesswork, then you also should not award any damages at
all to any Plaintiff.

Source: ABA Model Jury Instructions in Civil Antitrust Cases (2016 ed.) at 311, citing Comcast
v. Behrend, 133 S.Ct. 1426, 1433 (2013) and Coleman Motor Co. v. Chrysler Corp., 525 F.2d
1338, 1353 (3d Cir. 1975) (other internal citations omitted). Paragraph 5 adapted from Comcast
Corp. v. Behrend, 569 U.S. 27, 35 (2013) [P]laintiff's damages case must be consistent with its
liability case, particularly with respect to the alleged anticompetitive effect of the violation.”) ; In
re Processed Egg Prods. Antitrust Litig., 312 F.R.D. 124, 153 (E.D. Pa. 2015) (“[A]ny drop in
egg supply should be sufficiently tied to Defendants' conduct to make the model reliable for
showing antitrust impact. Here, Plaintiffs did not isolate the effects of Defendants' conduct on
the total egg supply; any supply reduction by non-conspiring producers has not been controlled
for.”); Concord Boat Corp. v. Brunswick Corp., 207 F.3d 1039, 1056-57 (8th Cir. 2000)
(reversing jury verdict predicated on expert testimony that “failed to account for market events
that both sides agreed were not related to any anti-competitive conduct” and “did not separate
lawful from unlawful conduct”).




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                                         Plaintiffs’ Position

Plaintiffs object to this instruction. The pattern instruction on which it is based is written for use
in a trial that is not bifurcated. As a result, this instruction calls for the jury to make findings on
topics that have already been decided. For example, it refers to an alleged conspiracy and
claimed injuries, whereas the conspiracy in this case has been proven and found by the jury and
the jury has found Plaintiffs to have been injured. Inviting the jury to return to these issues is
inconsistent with the bifurcation of this case. At a minimum, it will be confusing.

Plaintiffs further object:

    •   The instruction is inconsistent with the jury’s finding of a single overarching conspiracy,
        with multiple means and methods that overlapped over the course of the conspiracy.

    •   The instruction is inconsistent with the jury’s finding that the UEP conspired and that
        aspects of the UEP certified program were conspiratorial means. It is also inconsistent
        with the jury’s finding that the USEM conspired and that its export program was a
        conspiratorial means.


    •   The instruction is inconsistent with the causation standard the jury has already received.
        Those prior instructions instructed the jury that the conspiracy need not be the sole cause,
        only a material cause, of injury.


    •   The instruction is argumentative. Defendants suggest arguments that are not proper
        subjects of an instruction.

    •   The instruction elaborates theories of causation and defense arguments that have been
        evaluated and decided. It invites the jury to make findings it has already made.
        Instructions in the first phase of the trial have advised the jury as to the requirements of
        causation. Those instructions can be repeated if needed.

Defendants’ Response: Plaintiffs are conflating injury and causation and damages, not
defendants. Defendants revised the instruction to take out “alleged” where appropriate.




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        DAMAGES FOR PURCHASES – OVERCHARGES BASED ON SUPPLY

        Plaintiffs’ expert witnesses testified regarding how they calculated the overcharges
caused by the conspiracy you found to limit the supply of eggs. The expert witnesses testified
that they estimated the alleged overcharges using what is referred to as multiple regression
models.

Source: Broiler Chicken Instruction 35 (as modified)




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                                        Plaintiffs’ Position

Plaintiffs object to this instruction. Instead, the Court should give Plaintiffs’ Instruction 3, which
contains the necessary content. Moreover, this instruction is inconsistent with the jury’s finding
that the conspiracy has been proven.

Defendants’ Response: Defendants’ removed the term “alleged.” The instruction is appropriate
and consistent with Plaintiffs’ expert disclosures.




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   OVERCHARGES BASED ON ALLEGED AGREEMENT TO RESTRICT OUTPUT

        Because you have determined that there was an unlawful agreement among Cal-Maine,
Rose Acre, USEM, UEP, Wabash Valley and Moark to reduce the supply of eggs that caused
some injuries to Plaintiffs, you must now determine the amount of damages to award to each
Plaintiff. The proper way to calculate those damages is to determine the difference between the
prices Plaintiffs actually paid for egg products and the prices Plaintiffs would have paid for the
egg products had there been no agreement to reduce the supply of eggs. That is referred to as the
overcharge.

       Plaintiffs have attempted to demonstrate that they paid more for egg products than they
would have paid absent the unlawful agreement you found through a multiple regression
analysis. Defendants dispute that Plaintiffs’ multiple regression analysis is reliable.

        If you find that the Plaintiffs’ model is a reliable guide to estimate what the Plaintiffs’
egg product prices would have been absent the alleged conspiracy to reduce the supply of eggs,
then you may calculate the Plaintiffs’ damages using Plaintiffs’ model. You may find, however,
that the model is not a reliable indicator of the amount of alleged supply reduction attributable to
Defendants, Moark or Wabash Valley or of the alleged overcharge attributable to that reduction,
in which case you are not permitted to award damages.

        Further, Defendants are not liable for any overcharge on egg product purchases that are a
result of lawful conduct or the conduct of any non-conspiring entities. Any drop in egg supply,
and any resulting increase in the price of egg products, must be tied only to the unlawful conduct
of those entities that you found participated in the conspiracy to reduce the supply of eggs –
specifically, Cal-Maine Foods, Rose Acre Farms, Wabash Valley, Moark and the associations
UEP and USEM.


Source: Paragraph 1: ABA Model Jury Instructions in Civil Antitrust Cases (2016 ed.) at 312
(as adapted). Second paragraph adapted from Defendants’ proposed damages instruction in In re
Southeastern Milk Antitrust Litig., Case No. 2:08-MD-01000 (ECF 1624-1) (July 14, 2011).
Third paragraph adapted from Comcast Corp. v. Behrend, 569 U.S. 27, 35 (2013) [P]laintiff’s
damages case must be consistent with its liability case, particularly with respect to the alleged
anticompetitive effect of the violation.”) ; In re Processed Egg Prods. Antitrust Litig., 312
F.R.D. 124, 153 (E.D. Pa. 2015) (“[A]ny drop in egg supply should be sufficiently tied to
Defendants’ conduct to make the model reliable for showing antitrust impact. Here, Plaintiffs did
not isolate the effects of Defendants’ conduct on the total egg supply; any supply reduction by
non-conspiring producers has not been controlled for.”); Concord Boat Corp. v. Brunswick
Corp., 207 F.3d 1039, 1056-57 (8th Cir. 2000) (reversing jury verdict predicated on expert
testimony that “failed to account for market events that both sides agreed were not related to any
anti-competitive conduct” and “did not separate lawful from unlawful conduct”).




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                                         Plaintiffs’ Position

Plaintiffs object to this instruction, which is argumentative and deviates from the pattern. The
instruction is inconsistent with the jury’s finding of a conspiracy that actually injured Plaintiffs.
The conspiracy is not alleged, it is proven.

Plaintiffs’ Instruction 2, which follows the ABA pattern, provides the useful instruction without
presenting the argument of either party.

Defendants’ Response: Defendants removed “alleged” and Defendants believe the instruction
is helpful to the jury due to the mismatch between Plaintiffs’ expert’s opinions and the findings
of the jury.




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                                  MULTIPLE PLAINTIFFS

       If you award damages, you will be asked what sum of money would fairly and reasonably
compensate each Plaintiff. If you find that more than one Plaintiff is entitled to recover damages,
exercise caution to be sure that each Plaintiff is awarded damages only for its own injuries.



Sources: ABA Model Jury Instructions in Civil Antitrust Cases (2016 ed.) at 326; Broiler
Chicken Instruction 36.




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                                        Plaintiffs’ Position

Plaintiffs agree the Court should give this instruction. Plaintiffs’ proposed instruction 6 provides
the same content with minor wording suggestions.


Defendants’ Response: Defendants object to the removal of words from the pattern instruction
and submit the pattern should be given. Plaintiffs changed the meaning by removing words.




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                                          MITIGATION

         Plaintiffs may not recover damages for any portion of their injuries that they could have
avoided through the exercise of reasonable care and prudence. Plaintiffs are not entitled to
increase damages through inaction. The law requires an injured party to take all reasonable steps
it can to avoid further injury and thereby reduce its loss. If any or all Plaintiffs failed to take
reasonable steps available to them, and the failure to take those steps resulted in greater harm to
that Plaintiff or Plaintiffs than it would have suffered had it taken those steps, then that Plaintiff
or Plaintiffs may not recover any damages for that part of the injury it could have avoided.
Defendants have the burden of proof on this issue. Defendants must prove by a preponderance of
the evidence that a Plaintiff:

       (1) acted unreasonably in failing to take specific steps to minimize or limit its losses;
       (2) that the failure to take those specific steps resulted in its losses being greater than they
       would have been had it taken such steps; and
       (3) the amount by which Plaintiff’s loss would have been reduced had Plaintiff taken
       those steps.
In determining whether a Plaintiff failed to take reasonable measures to limit its damages, you
must remember that the law does not require a Plaintiff to take every conceivable step that might
reduce its damages. The evidence must show that a Plaintiff failed to take commercially
reasonable measures that were open to it. Commercially reasonable measures mean those
measures that a prudent businessperson in the Plaintiff’s position would likely have adopted,
given the circumstances as they appeared at that time. Each Plaintiff should be given wide
latitude in deciding how to handle the situation, so long as what each Plaintiff did was not
unreasonable in light of the existing circumstances.

Sources: ABA Model Jury Instructions in Civil Antitrust Cases (2016 ed.) at 324.




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                                         Plaintiffs’ Position

Plaintiffs object to this instruction.

First, as a matter of law, Plaintiffs do not have an obligation to mitigate damages from horizontal
conspiracies, such as this one. The court in In re Airline Ticket Comm'n Antitrust Litig. explained
that “[i]n a horizontal price-fixing case … mitigation and offset generally do not affect the
ultimate measure of damages.” 918 F. Supp. 283, 286 (D. Minn. 1996) (citing Illinois Brick Co.
v. Illinois, 431 U.S. 720, 745–46 (1977)). This is because, “[w]hile an antitrust plaintiff alleging
a refusal to deal or vertical price-fixing could reasonably be expected to mitigate damages by
finding another supplier, a victim of horizontal price-fixing does not have this option.” In re
TFT-LCD (Flat Panel) Antitrust Litig., No. M 07-1827 SI, 2012 WL 6000154, at *3 (N.D. Cal.
Nov. 30, 2012). Effects on the market price of a commodity affect all buyers, regardless of
whom they buy from. As a result, “antitrust injury occurs the moment the purchaser incurs an
overcharge ... [a]nd in a price-fixing conspiracy, the amount of damages is established by the
amount of the overcharge.” In re Delta/AirTran Baggage Fee Antitrust Litig., 317 F.R.D. 675,
684 (N.D. Ga. 2016).

Second, this defense will not be supported by the evidence. There was no commercially
reasonable way for Plaintiffs to mitigate their losses resulting from Defendants’ wrongful
conduct.

Defendants’ Response: There are vertical and horizontal agreements in play here and therefore
it is not the case that mitigation would never be proper. To the extent that defendants do not
provide evidence to support this instruction, they will withdraw it at the close of evidence.




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 November 26, 2023                             Respectfully submitted.

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